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                                              June 27, 2024
The Honorable Phyllis J. Hamilton
Senior United States District Judge
United States District Court for the
Northern District of California

Re:     WhatsApp LLC, et al. v. NSO Group Technologies Limited et al., 4:19-CV-07123-PJH
        DISCOVERY MATTER

                                       FILED UNDER SEAL

Dear Judge Hamilton:

       Pursuant to Fed. R. Civ. P. 26 and 45, nonparty Dr. William Marczak moves to quash
Defendants’ document and deposition subpoenas to him. See Exhs. A & B. Alternatively, Dr.
Marczak seeks a protective order under Rule 26(c) limiting the substantive scope of any discovery
from him to the scope of discovery, if any, that the Court permits from The Citizen Lab. Plaintiffs
do not oppose these requests. Defendants oppose these requests.
       I.       DR. MARCZAK’S POSITION
        The Court should quash Defendants’ subpoenas to Dr. Marczak. In recent months,
Defendants have aggressively pursued discovery from foreign nonparty The Citizen Lab and
nonparty Dr. Marczak, a computer scientist, researcher, and independent contractor for The Citizen
Lab. The only basis for that discovery is a single allegation in Plaintiffs’ complaint that some of
the individuals whose devices were penetrated through Defendants’ software “included attorneys,
journalists, human rights activists, political dissidents, diplomats, and other senior foreign
government officials.” Dkt. 1, ¶ 42 (the “civil society allegation”). Defendants have misleadingly
sought to recast that allegation as “core” to this case—and to Defendants’ meritless “law
enforcement” affirmative defense—to justify burdening Dr. Marczak and The Citizen Lab with
roving and harassing discovery.
        The Court has repeatedly rejected Defendants’ efforts in rulings Defendants brazenly
disregard and distort infra. Earlier this year, in addressing the parties’ dueling motions to compel,
the Court concluded that the civil society allegation is, at best, an “ancillary” part of the case,
rejecting Defendants’ contrary characterization. Dkt. 292 at 6. The next month, the Court partially
denied Defendants’ motion for a letter rogatory as to The Citizen Lab, holding that Plaintiffs—not
The Citizen Lab—were the appropriate target for discovery about whether Pegasus was installed
on any of the Target Devices. Dkt. 299 at 2-3. Then, in May, the Court fully denied Defendants’
motion. The Court reaffirmed its initial ruling that Plaintiffs’ civil society allegation was not
relevant to Plaintiffs’ case in chief and described Defendants’ requested discovery from The
Citizen Lab as “plainly overbroad.” Dkt. 305 at 5. Addressing Defendants’ purported defense that
they acted in good faith to promote law-enforcement objectives, the Court explained that “the
already-produced evidence from plaintiffs regarding Citizen Lab is more than sufficient for the
parties to present their arguments on NSO’s affirmative defense.” Id. at 6. Against that backdrop,
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the Court permitted Defendants to renew their letter-rogatory motion only if they presented
evidence that “specific individuals on Citizen Lab’s ‘civil society’ or ‘VIP’ lists were involved
with criminal/terrorist activity.” Id. Even then, any potential discovery from The Citizen Lab
would be limited to “those individuals.” Id. at 7.
         The net result is that this Court has already determined the maximum potential scope of
discovery from The Citizen Lab under Rule 26 having considered the same fundamental arguments
Defendants raise infra. That scope is exceedingly limited and, as mentioned, hypothetical only.
Although Defendants have renewed their letter-rogatory motion, they have fallen woefully short
of their burden on that renewed motion. See Dkt. 314 at 4-9. Regardless, at this stage, no discovery
from The Citizen Lab is justified under this Court’s orders. Necessarily, then, no discovery from
nonparty Dr. Marczak is warranted, given that his only possible relevance to this case is through
his work for The Citizen Lab. That dynamic is readily apparent from the complete overlap between
the document requests propounded to Dr. Marczak and the overly broad document requests and
deposition topics in Defendants’ proposed letter rogatory to The Citizen Lab. Compare Ex. A with
Dkt. 288-1, Schedules A & B.
         As a result, all the subjects about which Defendants claim to need discovery from Dr.
Marczak (see infra), including those Defendants claim are “plainly relevant,” were encompassed
in Defendants’ proposed letter rogatory that this Court already rejected as “plainly overbroad.” To
take just a few examples, Defendants’ proposed letter rogatory sought information about “Citizen
Lab’s publications about Defendants and/or Pegasus, and Citizen Lab’s underlying methodology”
(Dkt. 288-1, Schedule B, Topic 2), and here, too, Defendants claim a need for discovery about Dr.
Marczak’s publications concerning Pegasus’s technical functionality. Likewise, the proposed
letter rogatory sought documents relating to “the investigation or identification of any electronic
device upon which you and/or, to your knowledge, any representative of Citizen Lab believe, or
at any time believed, Pegasus was installed.” Dkt. 288-1, Schedule A, Topic 4. And, here,
Defendants insist Dr. Marczak’s “digital investigation” work is fair game for discovery even
though that work is unrelated to the intrusions alleged in the complaint and the Court already ruled
that Defendants had failed to show why discovery from The Citizen Lab about whether Pegasus
was installed on Targeted Devices would not be duplicative of discovery already obtained from
Plaintiffs, or be more easily obtained from them. See Dkt. 299 at 2. In no uncertain terms, the
Court rejected those discovery requests as to The Citizen Lab by carving out only a small, distinct
zone of potential discovery from The Citizen Lab. Defendants’ position infra attempts an
audacious end run around this Court’s prior rulings.
        Defendants’ subpoenas to Dr. Marczak should be quashed for a simple reason: they are
coextensive with discovery Defendants have sought from The Citizen Lab that this Court has
already determined is irrelevant and “plainly overbroad” under Rule 26. Like The Citizen Lab,
Dr. Marczak is not a party to this litigation and had limited involvement, if any, in categorizing
Targeted Users as members of civil society or “VIP targets.” And “[w]here the information sought
is not relevant to a claim or defense then any burden whatsoever imposed would be by definition
‘undue.’” Unsworth v. Musk, No. 19-MC-80224-JSC, 2019 WL 5550060, at *6 (N.D. Cal. Oct.
28, 2019) (cleaned up). Defendants’ unexpected position that the scope of allowable discovery
from an independent contractor for The Citizen Lab is broader than whatever the Court allows
from The Citizen Lab itself reveals their actual goal: to harass and burden their perceived critics.
       The only hypothetical subject this Court left open for possible discovery from The Citizen
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Lab, which concerns Defendants’ purported law-enforcement defense, does not justify discovery
from Dr. Marczak. Although Defendants have now renewed their letter rogatory motion, they
have not met their burden of presenting “evidence that specific individuals on Citizen Lab’s ‘civil
society’ or ‘VIP’ lists were involved with criminal/terrorist activity” that could support a plausible
defense. Dkt. 305 at 6. If this Court denies Defendants’ renewal motion as to The Citizen Lab,
Defendants’ coextensive discovery demands from Dr. Marczak must likewise be rejected in full.
       Alternatively, a protective order limiting the substantive scope of any discovery from Dr.
Marczak would be appropriate if this Court determines the subpoenas should not be quashed. See
Fed. R. Civ. P. 26(c)(1)(D); Convolve, Inc. v. Dell, Inc., No. C 10-80071 WHA, 2011 WL
1766486, at *2 (N.D. Cal. May 9, 2011) (“Requests to non-parties should be narrowly drawn to
meet specific needs for information.”). Allowing Defendants to enforce their subpoenas
unchecked would unduly burden and prejudice Dr. Marczak, both because Defendants seek
discovery on subjects this Court has already determined are irrelevant and overbroad and because
Dr. Marczak would undoubtedly need to expend significant resources producing documents and
preparing for Defendants’ unfettered deposition—a fact that is facially apparent from the
concededly wide-ranging deposition Defendants seek of Dr. Marczak.1 Permitting Defendants’
discovery would run roughshod over Rule 45’s mandate that the subpoenaing party “take
reasonable steps to avoid imposing undue burden or expense on a person subject to the subpoena.”
Fed. R. Civ. P. 45(d)(1).
        In the unlikely event that the Court permits limited discovery from The Citizen Lab, any
discovery from Dr. Marczak should be limited to the same subjects. The Court should enter a
protective order restricting the scope of any potential document production or deposition of Dr.
Marczak to his role, if any, in categorizing as members of “civil society” or “VIP Targets” specific
individuals whom Defendants have shown to the Court’s satisfaction were involved in criminal or
terrorist activity based on information supporting a plausible legitimate law enforcement defense.
The protective order should also postpone Dr. Marczak’s deposition until at least 30 days after its
ruling on Defendants’ renewed letter-rogatory motion.
       II.     PLAINTIFFS’ POSITION
       Plaintiffs agree with Dr. Marczak’s position that NSO’s subpoenas should be quashed.
Despite failing to fulfill its own discovery obligations, NSO continually seeks discovery related to
Citizen Lab, a nonparty that Plaintiffs do not intend to call at trial. Now, NSO attempts to obtain
documents and testimony from Dr. Marczak, a researcher for Citizen Lab. Plaintiffs’
understanding is that Dr. Marczak played only a limited role with respect to victim identification
and outreach. For these reasons and the ones stated by Dr. Marczak above, Plaintiffs believe that
NSO’s subpoenas to Mr. Marczak should be quashed.
        The Court has already repeatedly cast doubt on the relevance of Citizen Lab to this case.
In its May 2, 2024 order, the Court ruled that the identities of NSO’s victims “are not relevant to

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  Dr. Marczak, having already shortened his portion of this submission at Defendants’ request,
respectfully requests that this Court consider this submission in full so that all stakeholders may
be heard, as with the nine-page joint letter brief on Defendants’ renewed letter-rogatory motion
(Dkt. No. 314). Alternatively, Dr. Marczak requests that this Court permit the parties to brief the
issues herein more fully, with whatever factual declarations the Court would find helpful.
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plaintiffs’ case-in-chief” or “directly relevant to NSO’s affirmative [law enforcement] defense.”
Dkt. No. 305 at 4, 5. The Court also recognized that any information that Plaintiffs and Citizen
Lab possess about the identities of NSO’s victims has little bearing on NSO’s law enforcement
defense, which would necessarily rely on information produced by NSO showing that its targets
engaged in criminal or terrorist activity. Id. at 5. In response to the Court’s request for evidence
that specific individuals on Citizen Lab’s “‘civil society’ or ‘VIP’ lists were involved with
criminal/terrorist activity,” id. at 6, NSO submitted only Internet-search results about certain
victims, and admitted that it cannot produce information of its own about why any victim was
targeted. See Dkt. No. 313-2 at 4–5.2
        Even if the Court allows additional discovery from Citizen Lab, NSO does not need
documents or testimony from Dr. Marczak. The Court has already established that discovery from
Citizen Lab, in the event that it is permitted, “will be limited to . . . ‘how Citizen Lab conducted
its analysis or came to its conclusions.’” Dkt. No. 305 at 5. As Dr. Marczak’s counsel describes
above, Dr. Marczak did not play a significant role in Citizen Lab’s work on victim identification
and outreach, which Plaintiffs largely coordinated with other Citizen Lab researchers. Though
NSO describes Dr. Marczak as a “key participant” in Citizen Lab’s work for Plaintiffs, the
documents they cite merely include Dr. Marczak on a list of Citizen Lab employees permitted to
access certain information provided by Plaintiffs. See Dkt. 257-3, Exh. A at WA-NSO-0006567
& Exh. B at WA-NSO-00065869. As such, Dr. Marczak is unlikely to have any information
beyond what NSO could obtain from Citizen Lab.
        Allowing NSO to obtain irrelevant and unnecessary discovery from Dr. Marczak also poses
distinct harms to Plaintiffs. For example, the burden of NSO’s irrelevant and unnecessary
discovery requests to Dr. Marczak falls not only on him but also on Plaintiffs, who will be obliged
to participate in any deposition of Dr. Marczak to ensure a balanced record. That burden is entirely
unnecessary and disproportional to the needs of the case. The subpoenas should be quashed.

       III.    DEFENDANTS’ POSITION

        Defendants object to Plaintiffs providing a statement of position. As a general rule, parties
do not have standing to quash a subpoena directed to a third party absent a claim of privilege
relating to the discovery sought. Akkawi v. Sadr, No. 2:20-CV-1034 MCE AC, 2023 WL 7388550,
at *1 (E.D. Cal. Nov. 8, 2023).3

        Addressing the substance of Dr. Marczak and Plaintiffs’ arguments, both Citizen Lab and
Plaintiffs have assisted Dr. Marczak in evading his obligations to produce documents and to appear
for a deposition for nearly five months. His request to quash Defendants’ document and deposition
subpoenas, or for a protective order, should be denied. What the Court should quash are the

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  Plaintiffs again seek leave to renew their motion to strike NSO’s defenses that rely on victim
identification. See Dkt. No. 306 at 5; Dkt. No. 307-2 at 5; Dkt. No. 313-2 at 6. This joint letter
marks the fourth discovery dispute brought to the Court since June 12, 2024—and all four would
be resolved if the Court strikes certain of NSO’s defenses as legally and factually insufficient.
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  Given the repetitive nature of their arguments, Defendants asked Plaintiffs and Marczak to
collectively reduce their submissions to half of the available space in the five-page letter. They
declined, and indicated that they would request additional space from the Court.
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repeated efforts of Citizen Lab and Plaintiffs to conceal the information they are desperately
seeking to withhold about their investigation into NSO and the “Target Users.”

         Dr. Marczak is a Percipient Witness Defendants Intend to Call at Trial. Dr. Marczak
resides within this judicial district (Berkeley, CA), works as a computer science researcher for
Citizen Lab (and other entities), and has researched the technologies at issue in this case for many
years. Defendants have subpoenaed Dr. Marczak to appear at trial, and Defendants believe that
his trial testimony will support their defenses—which are not limited to the content of the Citizen
Lab “civil society” and “VIP” lists. (At the Court’s request, Defendants would provide a list of
additional topics about which they intend to examine Dr. Marczak. Defendants should be entitled
to do so in camera, however, as Dr. Marczak and Plaintiffs are not entitled to discover Defendants’
strategy in advance of the deposition.)

       Defendants Offered to Narrow the Scope of the Subpoena Drastically, and Dr. Marczak
Refused to Discuss Narrowing. In February and March 2024, counsel conferred about narrowing
the scope of the subpoena. Defendants’ most recent proposal was to limit the subpoena to:

All Documents in Dr. Marczak’s possession, custody or control that were created, sent, or
received on or before October 29, 2019, and that relate to any or all of the following:
   o   Work that Dr. Marczak and/or Citizen Lab performed pursuant to any or all of [the five
       separate 2019 contractual agreements between WhatsApp and Citizen Lab];
   o   The alleged use of Pegasus to gain access to the “Target Devices” as defined in the
       Complaint;

   o   The identities of any of the “Target Users” as defined in the Complaint and whether or
       not they fall within “civil society” and/or are “VIP targets”;

   o   Communications with any of the “Target Users” as defined in the Complaint.

After the Court issued its Order relating to the Citizen Lab Letter Rogatory (Dkt No. 299), Dr.
Marczak’s attorneys rejected Defendants’ offer on March 29, 2024, and refused to discuss any
further narrowing of the subpoena.

        Dr. Marczak’s Digital Investigation Work About the Alleged Attack on the 1,400 Target
Users is Discoverable. In addition to percipient knowledge about NSO, Dr. Marczak was also a
key participant in Citizen Lab’s “digital investigation” work for Plaintiffs regarding the alleged
attack on the 1,400 target users at issue in this litigation and the WhatsApp vulnerability allegedly
used in that attack. (See Dkt. 257-3, Exh. A at WA-NSO-00065767 & Exh. B at WA-NSO-
00065869.) Dr. Marczak, a PhD in computer science, holds himself out as conducting “digital
investigations.” (See https://billmarczak.org/.) Late last year, Plaintiffs identified “Citizen Lab”
as a potential trial witness in their Amended Initial Disclosures to testify about identification of
Defendants as responsible for “unauthorized access and abuse of the WhatsApp service.” That
testimony would be that of Dr. Marczak, who has submitted testimony in other U.S. lawsuits
opining on the issue whether particular devices were accessed using Pegasus. (See, e.g., Dkt No.
44-1, Elatr v. NSO Group Tech. Ltd. et al.; Case No. 1:23-cv-779-LMB-LRV (E.D. Va.).)

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to defend the accuracy of Citizen Lab and WhatsApp’s work. Instead, they have primarily faulted
Defendants for not addressing the legal basis for the Sixth Affirmative Defense (id.)—which the
Court expressly held Defendants need not do at this stage. (Dkt. No. 305 at 6:27-28.) While
Plaintiffs and Citizen Lab criticize Defendants for not providing more information to the Court
about whether Pegasus was being used in the course of law enforcement or intelligence
investigations, Plaintiffs have designated the lists of target users, including Citizen Lab’s lists, as
“Highly Confidential Attorneys’ Eyes Only,” meaning that even if Defendants’ attorneys knew
which person on Citizen Lab’s list was being investigated by which sovereign customer (they do
not), Defendants’ attorneys would be precluded from sharing the names with NSO’s customers to
seek the very information that Plaintiffs claim is needed to justify discovery.

         Ultimately, Dr. Marczak does not deny—under oath or otherwise—that he has investigated
purported misuses of Pegasus; that he was part of the effort
                               that he participated in the creation of the “civil society” and “VIP”
lists; or that he communicated with persons on those lists about the alleged use of Pegasus to target
their devices. For reasons explained above, these are appropriate subjects of discovery in this case,
including from Dr. Marczak—the only Citizen Lab employee within the Court’s subpoena power.

        Defendants dispute Dr. Marczak’s claim that the discovery sought would be duplicative of
discovery Defendants have received from Plaintiffs because (1) Plaintiffs are refusing to produce
a substantial amount of their communications with Citizen Lab, even during the short time window
that they agreed to produce such communications (see Dkt. No.307-2); and (2) the documents
produced by Plaintiffs provide no visibility into Citizen Lab’s internal processes and the work Dr.
Marczak performed.

         In response to the claim that Dr. Marczak does not have much knowledge about this case,
if that turns out to be the case, the deposition would indeed be short, which would mean the burden
on Dr. Marczak would be relatively minimal, and Defendants’ use of one of their depositions
would have been wasted. But Dr. Marczak, Citizen Lab, and Plaintiffs should not be permitted to
continue delaying this discovery—particularly given that the process of obtaining related
information from Citizen Lab in Canada may not be complete by the scheduled close of fact
discovery due to the stalling tactics of Plaintiffs and Citizen Lab. Accordingly, Dr. Marczak’s
motion to quash Defendants’ document and deposition subpoenas should be denied.

        Dr. Marczak has also failed to demonstrate grounds for a protective order limiting the scope
of discovery pursuant to Defendants’ subpoenas. A person seeking a protective order “has the
burden of proving good cause, which requires a showing that specific prejudice or harm will result
if the protective order is not granted.” Blankenchip v. Citimortgage, Inc., 2015 WL 5009079, at
*2 (E.D. Cal. Aug. 20, 2015) (quotations and citations omitted). Dr. Marczak’s principal objection
is that the subpoenas seek information that is purportedly “irrelevant.” But that objection is
meritless for reasons shown above—the discovery sought is relevant to Plaintiffs’ own claims,
Plaintiffs’ requested remedies, and Defendants’ defenses in this case. In any event, Dr. Marczak
fails to “explain why the asserted lack of relevance of the requested [discovery] would subject
[him] to ‘annoyance, embarrassment, oppression, or undue burden or expense,’ the only grounds
for granting a protective order.” Id. at *3 (denying protective order); see also Rule 26(c)(1). While
Dr. Marczak asserts in wholly conclusory fashion that he would “need to expend significant

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resources producing documents and preparing for” the requested deposition, he makes no effort to
substantiate those claims. “Generalized statements of harm”—all Dr. Marczak offers—“are not
good enough.” Blankenchip, 2015 WL 5009079, at *2. Dr. Marczak has earned money and fame
by making claims about alleged acts of NSO and its clients. Any burden, annoyance, or expense4
Dr. Marczak is facing is not “undue”—it is a direct result of his work and his publicizing of that
work. Dr. Marczak also omits from this letter that Defendants attempted to negotiate the scope of
the subpoena to address some of his concerns, which was rejected in a bid to avoid the subpoena
entirely. Dr. Marczak’s alternative request for a protective order should be denied
accordingly. See id.


                                                    Sincerely,

                                                    Steve Lane, Counsel for Nonparty Dr.
                                                    William Marczak

                                                    Craig Cagney, Counsel for Plaintiff

                                                    Aaron Craig, Counsel for Defendants




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  Notably, Dr. Marczak’s carefully-worded statement does not indicate he is bearing any legal
expense; Defendants believe that Citizen Lab is paying for Dr. Marczak’s legal representation in
this matter.
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